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                         IN THE UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



THE ESTATE OF AARON J.                              Case No.: 3:21-cv-01340-YY
DANIELSON,

                             Plaintiff;
                                                    PLAINTIFF’S NOTICE OF APPEAL
                     v.

THE CITY OF PORTLAND, OREGON;
DISTRICT ATTORNEY MICHAEL
SCHMIDT; MAYOR/COMMISSIONER
EDWARD TEVIS (TED) WHEELER;

                               Defendants.



       Notice is hereby given under Fed.R.App Rule 3. that Plaintiff, LUCAS SILAS

CARRILLO, for THE ESTATE OF AARON J. DANIELSON , hereby appeals to the United States

Court of Appeals for the Ninth Circuit from the final Order and Judgment of the United States

District Court for the District of Oregon, granting Motion to Dismiss and Dismissal of the case.

(Dkt. Nos. 50 and 51).
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    Dated this 15th day of September, 2022.



                                        CAUBLE & WHITTINGTON, LLP


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was served electronically to the following

counsel of record via the Court’s electronic filing system on the 15th day of September, 2022,

according to this Court’s provision for service:


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       DATED this 15th September, 2022.


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